Tuan G. MS Kiev ih b0/32
TJ.5+ he |
Nek Bol
Trenton) N-T- 08625
US, District Court
\CHIA
Ravi mer " Y, VI chao! Heamamer US.DI. :
50 We , nut ety eet 9 Minne vitae Gaccine le
Newar'(, NF O7/0f 07 WN2 Com \(MAt
Dear Hon Tud tha rarer ’ Mach 2%, 20/9
TL have tod TD negot, iate a Set tEpnent
Ofter in the clo. Case With cetend
ants Counsel ThIS \Was OVeEr Se\Vera /
hao ths TO No OVA / , Lap aSMGNG
T his Cour f TD O Ilo Vl Me +p dev
OFF, Toseph Saving AS~ Der SO 4 ndhions
And Lim asic WN the Court fo oid
Me A Sub poeng fv alloy me Td ASK
beagey (ounly Superiy- Court for
Certain items of distuvery%e And
A150 \lould lie to de pose dewid
_ icase 2: ji Cv-07442-KM-MAH Document 81 Filed 04/01/19

Ca Wiel epee ooo (OSC y ares PTET oor
As sf foseaton Dana Reed mete lek
Hon. Jug he Gouido J.) |e This requps f

las ade hy hae in th poss Zod

my Clue cl gerne at the TIMe Got Lf
Found out (A hot ete Sub Peers \ VAS

| ot +he Way 1 ¢ dnt Krowl, MN nota
La\ yer Also, both Tand Consol dyed Ao
{roe a Set tlernent for StVira | [rors SO the

SCouery Some \Al hat S topped. Co Un | f LH ast fetier
fou h ONOr thes Me a bith ho. © /) No

Wd y ci dL L Nave ny right Td lf $Cc very of
Your laS hy ' dey Or Ac Pos y Savino Or any

of the others. \wle

i oy NeGotiatine 5
+Opfe Led tht request: Ard for 7 a (7 50 We loth

et AN thing 1 tote | IV \x Alon, Counse/ Senf-

“on at | et +tp 0 on JA (om, 7; el hina OV) the
Phone Need a Copy And

he never sent, 7.
SE lost ty Chel has Show

NPC Som
Cc _ Mlays that’ are Vie \A/ ahd not |

;
ses ey OC iny +h Me Dit

S Cour’ O +or
ESQ Crd. Avd fot hely | apa W9 fw

US Scedule aset tan nt Con ence
Course] haS nof Put a
ene iS nel pa) push Bet on The, table hele?

5f ben ko Bergen County Shertl Claiming ho sybrip ted rhe

Ehae. Thani
You Yow honor’ ee YOw- tie. 9 CFIA

As. The institution iceces ples, aVitg Auth MY lege al, (on wens oo So

 
|’
Case 2:15-cv-07442-KM-MAH Document 81 Filed 04/01/19 Page 3 of 4 PagelD: 372

Lyan. M= = IGyney#bol32/
A.J S-f.

f.0. ox Stl

Trenton, NT O0%l2s

The Low offices of Richard

Malag os CC. Ath. M Mr. Leonard! Seqman ESQ.

fe AciC, CG.
“itkadO ANT O7oO7¥Y aCrinMy Me ood

WY2 (ICM) (AA)
Dear Mr. Seaman. 03-28-19

- have enclosed a CO ot this 2 fF e
oy 28-19 letter fon TU H, oe
r+ entai|s our Neg < Hips 7 Pardo
Concery On \A/ st have been OWL AT |.

T hay! IC You ee ye. Fime. 7

 

 

 

 

 

C,
IM Ve |} Oty) 77
Case 2:15-cv-07442-KM-MAH Document 81 Filed 04/01/19 Page 4 of 4 PagelD: 373

 

(EY #0132 Ics |
5 \\. J. ‘ J _- P. | Qo ma ey Hasler
i D, Gor sel : mes | ae

 
